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                                                                                            Apr 14, 2022

                              U NITED STA TES D ISTRICT C OUR T
                              SO U TH ERN DISTR ICT O F FLOD A
                            22-20156-CR-MOORE/LOUIS
                               CA SE N O .
                                            18U.S.C.j371
                                            18U.S.C.j3551ç!.seq.
   U M TED STATES OF AM EIU CA

   VS.                                                                        UND ER SEAL

   STERICY CLE,IN C.,

          D efendant.
                                                 /

   The United Statescharges:

                 Ata11tim esrelevahtto thislnform ation,uniess otherwise stated:

          The Defendantand RelevantEntities and Individuals
                         Stericycle was a D elaw are corporation headquartered in Lake Forest,

   lllinois. Stericycleran an internationalwaste m anagem entnetwork,focused prim arily on m edical

   w aste, industrial waste,m aritim e waste, and docum ent destruction. Stericycle had a class of

   publicly traded securities that w ere registered w ith the United States Securities and Exchange

   CommissionpursuanttoSection l2(b)oftheSecuritiesExchangeActof1934andweretradedon
   theNASDAQ underthetickerItSRCL.'' Stericyclewasan Ssissuer,''asthatterm isused inthe
   Foreign CorruptPracticesAct(GTCPA''),Title 15,United StatesCode,Sections78dd-1(a)and
   78m(b).
                         Individualsin Stericycle'sLatinAmericadivision(GlstericycleLATAM ''I
   were responsible for overseeing the operations of Stericycle's subsidial-ies in M exico,Brazil,

   Argentina, Chile, and Puerto Rico. Beginning at least in or about 2013, Stericycle LATAM

   leadership and staffwere based in M iam i,Florida.
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                        Gçstericycle LA TA M Executive 1,'5an individualw hose identity is know n

   to theFraud Section and the Com pany,wasaM exican citizen and residentofM iam i, Florida,who

   w orked for Stericycle as an executive atStericycle LA TA M . Stericycle LATA M Executive 1's

   businessresponsibilitiesincluded oversightandm anagem entofStericycle LATA M and certain of

   Stericycle's subsidiaries, including acquisitions,operations,finance,and sales.Throughoutthe

   relevanttim e period, Stericycle LATAM Executive 1's direct reporting line w as to Stericycle

   senior executives. Stericycle LATA M Executive 1w as an em ployee and agentof Stericycle,an

   G:issuer,''asthosetermsareusedintheFCPA,Title 15,UnitedStatesCode,Section78dd-1(a).
                 4.     M edam S.A.de C.V.,togetherwith otheraffiliated entities(collectively,
   iGstericycleM exico''),wasawholly owned subsidiary ofStericycle and headquartered in and
   around M exico City,M exico.StericycleM exico w asunderthè direction and controlofStericycle

   LATAM ,and its books,records,and accounts were consolidated into the financialstatem ents of

   Stericycle.During the relevanttim e period,Stericycle M exico and its em ployees were agents of

   Stericycle,an ''issuer,''asthatterm is used in the FCPA ,Title 15,United Su tes Code,Section

   78dd-1(a).
                 5.     Sdstericycle LA TAM Executive 2,1'an individualw hose identity is know n

   to the Fraud Section and the Com pany,was a M exican citizen based in M exico and an executive

   of Stericycle LATAM w hose business responsibilities included, am ong other things, the

   m anagem entof Stericycle LATA M 'Stsnances.Stericycle LA TA M Executive 2 w as an employee

   ofStericycleM exico and an agentofStericycle,an Gtissuer,''asthatterm isused intheFCPA ,Title

   l5,UnitedStatesCode,Section78dd-1(a).
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                         Stericycle G estao A m bientalLtda.,together w ith other aftiiiated entities

   (collectively,(tstericycleBrazil''),wasawhollyownedsubsidiaryofStericycleandheadquartered
   in Recife,Brazil.StericycleBrazilw asunderthe direction and controlofStericycle LA TAM , and

   its books, records,and accounts were consolidated into the financialstatements of Stericycle.

   During the relevanttim e period,Stericycle Brazil'and its employeesw ere agents ofStericycle, an

   (sissuery''asthatterm isusedintheFCPA,Title15,UnitedStatesCode,Section78dd-1(a).
                         çGstericycle BrazilExecutive 1,''an individualw hose identity isknow n to

   the Fraud Section and the Company,w as a Brazilian citizen and an executive atStericycle Brazil

   whose business responsibilities included oversight and m anagem ent of Stericycle Brazil.

   Stericycle BrazilExecutive 1 repoled to Stericycle LATA M Executive l and was an agent of

   Stericycle,an (Cissuery''as thatterm is used in the FCPA ,Title 15,U nited States Code,Section

   78dd-l(a).
                 8.      Gtstericycle BrazilExecutive 2,''an individualw hose identity is know n to

   the Fraud Section and the Company,w as aBrazilian citizen and an executive of Stericycle Brazil

   w hose business responsibilities included w ork in Stericycle Brazil's clinical w aste division.

   Stericycle BrazilExecutive 2 w as an agentofStericycle,an E&issuer,''asthatterm is used in the

   FCPA,Title15,UnitedStatesCode,Section78dd-l(a).
                         G&stericycle BrazilExecutive 3,''an individualw hose identity isknow n to

   the Fraud Section and the Company'
                                    ,wasa Brazilian citizen and an executive ofStericycle Brazil

   w hose business responsibilities included the m anagem ent 'of Stericycle Brazil's finances.

   Stericycle BrazilExecutive 3 was an agentof Stericycle,an Sdissuer,''asthatterm is used in the
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   FCPA,Title15,UnitedStatesCode,Section78dd-1(a).
                 l0.     'GBrazilV endors,''entities the identities ofw hich are know n to the Fraud

   Section and the Company, were Brazilian com panies with which Stericycle Brazil, in certain

   instances, entered into sham agreem ents to provide debt-collection services that w ere never

   provided.The BrazilV endors issued false invoicesthatStericycle Brazilused in its books and

   recordsto concealthe bribepaym ents to Brazilian governm entofticials.

                 l1.     (tM exico V endorsy''entitiesthe identitiesofw hich areknown to the Fraud

   Section and the Com pany,w ere M exican companies w ith which Stericycle M exico entered into

   sham servicecontractsthatwereusedto generatefundsforbribepaym entsto M exican governm ent

   officials.

                 12.    HabitatEcologicoS.A.,togetherwithotheraffiliatedentities(collectively,
   SsstericycleArgentina''),wasawhollyownedsubsidiaryofStericycleandheadquarteredinBuenos
   A ires,A rgentina.StericycleA rgentina wasunderthedirection and controlofStericycle LA TAM ,

   and itsbooks,records,and accountsw ere consolidated into the financialstatem entsofStericycle.

   During the relevanttim eperiod,StericycleArgentina and itsemployeesw ereagentsofStericycle,

   andsissuer,''asthatterm isusedintheFCPA,Title15,UnitedStatesCode,Section78dd-l(a).
                 13.     S'StericycleA rgentinaExecutive 1,''an individualwhose identity is known

   to theFraud Section and the Com pany,was an A rgentinian citizen and an executive atStericycle

   A rgentina whose business responsibilities included work in the Stericycle A rgentina Clinical

   D ivision.StericycleA rgentina Executive 1w asan agentofStericycle,an tlissuery''asthatterm is

   usedintheFCPA,Title15,UnitedStatesCode,Section78dd-1(a).
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   lI.    TheForeign CorruptPracticesA ct

                  14.    TheFCPA,15U.S.C.jj78dd-1,etseq.,wasenactedby Congressforthe
   purpose of,am ong otherthings,making itunlaw fulforcertain classes ofpersons and entitiesto

   corruptly offer,prom ise,authorize orpay m oney oranything ofvalue,directly orindirectly,to a

   foreign governm ent officialto secure an improper advantage for the purpose of obtaining or

   retaining businessfor,ordirecting business to,any person. The FCPA 'S accounting provisions,
                                    f
   am ong otherthings,require thatevery issuerofpublicly traded securities registered pursuantto

   Section l2(b)oftheSecuritiesExchangeActof1934,15U.S.C.j781,orrequiredtofileperiodic
   reportswith the SEC underSection 15(d)ofthe SecuritiesExchangeAct,15U.S.C.j78o(d)
   (hereinafter,'sissuer'),make and keep books,records,and accountsthataccurately and fairly
   retlectthe transactionsa'
                           nd disposition ofthe issuer'sassets,and prohibitthe know ing and willful

   falsification ofan issuer'sbooks,records,oraccounts. 15U.S.C.jj78m(b)(2)(A),78m(b)(5),
   and78ff(a).
   111.   Overview oftheBriberv Schem e

                 15.     From in oraboutand between atleast20l1 and 2016,Stericycle,through

   certain ofitsem ployees and agents,know ingly and w illfully conspired and agreed w ith othersto

   corruptly offerand pay approximately $10.5 million in bribesto,and forthebeneftof,foreign
   officials in Brazil, M exico, and A rgentina in order to obtain and retain business and other

   advantages for and on behalf ofStericycle.Stericycle earned approxim ately $21.5 m illion in
   profits from the corrupt schem e and through its corruptly obtained and retained governm ent

   contracts.
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                     16.     Stericycle,through Stericycle LATA M Executive 1 and others, expanded

      Stericycle LATA M through acquisitionsand im plem ented sim ilarm ethods of bribe paym entsin

      Brazil,M exico,and A rgentina.Theco-conspiratorsm ade and caused tobe m adehundredsofbribe

      paym ents to foreign officials em ployed by governm entagencies and instrum entalities in Brazil,

      M exico, and Argentina to obtain and retain business advantages and to direct business to

      Stericycle.Stericycle LA TA M Executive l directed a schem e by w hich em ployees atStericycle

      Brazil,Stericycle M exico,and Stericycle Argentina m ade bribe payluents,typically in cash,and

      calculated the am ountofthe bribesas a percentage ofunderlying contractpaym entsm ade by or

      owing from agovemmentcustomer.In each ofthethreejurisdictions,theco-conspiratorsused
      spreadsheetsto track the bribe paym ents and used code w ords and euphem ism s to referto them :

      SICP''orEtcommissionpayment''inBrazil5(11P''or(lincentivepayment''inM exico>andû'alfajores''
      or '11P'' in A rgentina. The co-conspirators also produced false and m isleading accounting

      docum entsand engaged in fake transactionsw ith third partiesto generate and concealthe funds

      used to m ake the illicitpaym ents.ln carrying out the schem e,celain of Stericycle's LA TAM

      em ployees and agents utilized m eans and instrum entalities ofinterstate com m erce,including the

      useofwiresin the Southern D istrictofFlorida.

                            (a)     BribesPaidInBrazil
                            Between in orabout201l and 2016,Stericycle,through certain employees
  N
      and agents,knowingly and willfully conspired and agreed with othersto corruptly offerand>ay
      bribesto,and forthebenefitof,foreign oftk ialsw ithin the m eaning ofthe FCPA ,Title 15,U nited
                 /
      SutesCode,Section 78dd-1(t)(1)(A),who were employed by atleast25 localand regional
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   governm ent agencies and instrum entaiities in Braziito secure improper advantages in order to

   obtain and retain business from the Brazilian governm ent in connection w ith providing w aste

   m anagem entselwices,as w ellas to obtain authorization forpriority release ofpaym ents owed

   undercontractswith govem mentagencies.Stericycleearnedatleast$13.4 m illion inprofitsfrom
   corruptly obtained and retained businessw ith the Brazilian governm ent.

                  18.     Thebribepaymentsweremadewith theknowledge,authorizatlon,and at
   the direction of Stericycle LA TAM Executive 1 and Stericycle LA TA M Executive 2,asw ellas

   StericycleBrazilExecutive 1,StericycleBrazilExecutive2,and StericycleBrazilExecutive 3 and

   othersatStericycle Brazil.Stericycle LA TAM Executive 1 also received spreadsheets containing

   thebribepaym entsin hardcopy and by em ailforreview .Forexample,on oraboutJanuary 8,2016,

   Stericycle Brazil Executive h1 em ailed Stericycle LA TA M Executive 1 a version of the CP

   Spreadsheet,statingdllalsperourconversation,pleasefindattachedthespreadsheetdetailingthe
   expensesw ith debtcollection servicesfor2014 and 2015.'9

                  19.     Stericycle Executive l and Stericycle Brazil Executive 2 directed the

   distribution of cash to Stericycle Brazil sales em ployees, who used the cash to m ake bribe

   paym ents--often through third party interm ediaries- to governm entofficialsin differentregions.

   A s pal4 of the schem e,Stericycle Brazil em ployees agreed upon bribe paym ents in return for

   receiving paym entpriority on certain invoices ow ed undercontracts w ith governmentagencies;

   the bribe paym entsw eretypically apercent geofthe invoice am ountowed ora fixed am ount.

                 20.      Specifically,two employeesatStericycleBrazil(thedtstericycle Brazil
   Gnanceemployees'')maintained alistofStericycleBrazilsalesemployeeswho delivered bribe
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   paym entsto governm entoftk ialsassociated F ith particulargovernm entcustom ers.TheStericycle

   Brazil finance employees prepared bank orders in the nam es of the Stericycle Brazil sales

   elnployees,w ho w ould retrieve the m oney from the bank and deliver the cash funds--often

   through an interm ediary- to governm entofficials associated w ith governm entcustom ers.

                  21.     For exam ple, on or about M arch 30,2015,after Stericycle Brazil had

   received paym entfrom a governm entagency foran outstanding invoice, a StericycleBrazilsales

   em ployee requested approvalfrom' Stericycle BrazilExecutive 2 to m ake a bribe paym entto a

   governl
         n entom cialassociated w ith thatagency. Stericycle BrazilExecutive 2 approved the bribe

   paym ent,and aStericycleBrazilfinance em ployeem adethefundsavailable.The StericycleBrazil

   sales employee retrieved approximately BRL 44,000 (approximately $13,200)- which
   represented approxim ately 20% ofthe invoice am ountpaid by the governm entagency in cash

   from abank and delivered itto athird-party interm ediary so the interm ediary could deliveratleast

   halfofthatam ountasa bribeto theofficial.

                  22.     Stericycle BrazilExecutive l and Stericycle BrazilExecutive 3 directed

   the Stericycle Brazilfinance em ployees to concealthe bribery schem e in accounting records by

   m aking the illicitpaym entsappearaslegitim ate businessexpenses.Priorto in oraboutSeptem ber

   2012,Stericycle Brazilhad inflated invoicesfrom vendorsthatalso provided othelw ise legitim ate

   servicesin orderto coverbribepaym ents.Beginning in oraboutSeptem ber20l2,Stericycle Brazil

   Executive 1and Stericycle BrazilExecutive 3 reu ined the BrazilVendorsforthe sole purpose of

   issuing fake invoicesto coverbribe paym ents.To concealthe true purpose ofthe paym ents,the

   StericycleBrazilfinance employeesrecorded cash w ithdraw alsasadvancepaym entsto the Brazil
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   V endorsforpurported debtcollection servicesthatwere neverprovided.In exchange forafee, the

   BrazilVendorsgenerated fake invoicesto StericycleBrazilforthe sham debtcollection services.
                 23      Forexam ple,on orabout'
                                               Septem ber30, 2014,one ofthe StericycleBrazil

   financeemployeesemailedoneoftheBrazilVendors,stating(igklindlyissuethegBrazilVendorq
   invoices follow ing the am ounts described below ''and providing six different am ounts for the

   requested fakeinvoices.Thefollow ing day,on oraboutOctober 1,2014,an em ployeeoftheBrazil

   Vendor replied to the Stericycle Brazil finance em ployee, attaching the corresponding fake

   invoices.

                 24.     At the direction of Stericycle BrazilExecutive 1 and Stericycle Brazil

   Executive 3,the Stericycle Brazilfinance em ployeestracked the bribepaylnentsthrough the IICP

   Spreadsheet,''which tracked relevantinform ation abouteach bribepaym ent,including the region,

   client,bribe calculation (i.e.,percentage oftheunderlying invoice orfixed amount),revenue
   generated,amountofthe bribe paym ent,third-party intel-m ediary,and the nam e ofthe Stericycle

   Brazilsales em ployee responsible forretrieving the cash from the bank and delivering the bribe

   Paym ent.

                 25.     For example, on or about July 29, 2014, a Stericycle Brazil finance

   em ployee em ailed anotherStericycle Brazilemployee asking fora paym entorder in the am ount

   ofR$107,800.96 (approximately $48,499.65)to bewithdrawn from a localbalzk thefollowing
   day.The em ailrequesting the paym entorder referenced one of the BrazilV endors.The sam e

   amount,R$107,800.96,appeared in aJuly2014 entry intheCP Spreadsheet.
                 26.     O n oraboutAugust3,2015,a Stericycle Brazilfinance employee em ailed
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    two otherStericycle Brazilfinance employeeswith the subjectline listing one ofthe Brazil
    Vendors.The em ailcited fourseparate am ountstied to fake invoicesissued by the BrazilV endor

    betweenJuly21,2015,andJuly 30,2015,totalingR$138,448.60(approximately $42,876).The
    sam e totalam ountforJuly 2l,2015,through July 23,2015,appeared on the CP Spreadsheetfor

    July 2015,along w ith the region,the bribe paym ent am ount,and the nam e of the sam e Brazil

    V endor.

                           On oraboutN ovem ber23,20l5,StericycleBrazilExecutive 1em ailed the

    StericycleBrazilfinanceemployees,authorizing aR$50,000payment(approximately $13,206),
    in connection with one of the BrazilVendors.The same amount,R$50,000,appeared as a
    N ovem ber24,2015,entry in the CP Spreadsheetalong with the nam e ofthe sam e BrazilV endor.

                          (b)     BribesPaidinMexico
                  28.      Between in or about 2011 and 2016, Stelicycle,through certain of its

    em ployeesand agents,l
                         m ow ingly and w illfully conspired and agreed w ith othersto corruptly offer

    and pay bribesto,and forthe benefitof,foreign officialsw ithin the m eaning ofthe FCPA ,Title

    15,United StatesCode,Section 78dd-1(t)(l)(A),who were employed by ldcaland regional
    govermuentagencies and instrum enà lities in M exico to secure improperadvantages in orderto

    obtain and reu in business from at least 15 M exican state-ow ned entities in connection with

    providing w aste m anagem entservices,to obtain authorization fororpriority release ofpaym ents

    owed undercontracts,and to avoid fnes.Stericycleearned atleast$3.7 million in proGtsfrom
    corruptly obu ined and reu ined contractsw ith the M exican governm ent.

                   29.     The bribepaym entsw ere m ade with the lcnow ledge,authorization,and at
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    the direction of Stericycle LA TAM Executive 1 and Stericycle LATA M Executive 2,asw ellas

    executives and m anagers of Stericycle M exico.Stericycle LATAM Executive 2 and Stericycle

    M exico employeesapproved the distribution offundsto theM exico V endors,w hich purported to

    provide services to Stericycle M exico,to m ake bribe paym ents to officials em ployed by state-

    ow ned and state-controlled hospitals and other governm ent entities.Bribes w ere typically paid

    m onthly to these officials and w ere calculated as a percentage ofthe custom er's invoicevalue,a

    percentage ofthe am ountofw aste collected,or as a fixed alnount.M ostofthe bribe paym énts

    w ere m ade in cash and w ere referred to in codeas ûllittlepieces ofchocolates''or'GIP paym ents''.

                   30.     Stericycle LA TAM Executive 1 received and reviewed spreadsheets

    reflecting the bribe paym ents.For example,on or aboutJanuary 17,2013,a Stericycle M exico

    employee em ailed StericycleLA TAM Executive 1 and StericycleLATAM Executive 2,attaching

    aspreadsheetentitled'llnvoicesIP ()D1C.l2''anddescribingthespreadsheetasattreferencefile''
    thatincluded the GGm onthly am ountsum m ary''and an analysisofthe ttconceptsw euse in orderto

    sustain the operation.''The atlached spreadsheetincluded references to bribe paym entsfrom in or

    about January through Decem ber 2012,along w ith corresponding M exico V endors thatw ould

    subm itfake invoicesw ith descriptionsoffabricated selwices.

                            Stericycle LA TA M Executive 1 and Stericycle LATA M Executive 2 also

    participated in m onthly M exico Executive Com m ittee sessions during w hich they review ed

    financialrecords that contained an accounting ofthe bribe paym ents.Forexam ple,the m inutes

    from the June 2012 and Septem ber 2013 M exico Executive Com m ittee sessions reflected a

    breakdown ofG4advancedpaymentsy''including délP''(orllincentivepayments'')toGling 346,535
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    pesos(approximately$24,916)and 1,768,866pesos(approximately$135,495),respectively.
                           ln orderto concealand paperoverthe bribe paym ents,Stericycle M exico

    em ployeesobtined fakeinvoices from approxim ately 45 differentM exico Vendorsthatprovided

    no legitimategoodsorselwices.Theinvoicesincludedfalsedescriptionsofservicesthatwerenot,

    in fact,provided.M any paym entsto theM exico Vendors were m ade priorto oron the sam e day

    à corresponding invoice was issued.The M exico Vendors then passed the money generated

    through paym entson the fake invoicesto StericycleM exico em ployeesin orderto pay bribesand,

    in som e instances,paid the bribes directly.

                   33.     Stericycle LATA M Executive 2 and Stericycle M exico em ployees

    m aintained the <<P Spreadsheets,''which tracked each bribe paym entas wellaspertinentdetails,

    including am ong others,the M exico Vendorproviding the fake invoice,the am ountofthe bribe,

    thedate and m ethod ofpaym ent,the Stericycleem ployee responsible forpaying the bribe,m ethod

    of calculating the bribe paym ent, the governm ent official receiving the bribe, and the fake

    description ofservicesnoted on the M exico V endorinvoice.

                   34.     Forexam ple,on oraboutOctober 1,2014,a seniorm anager atStericycle

    M exico emailed StericycleLATAM Executive 1,stating ltgtqhedinnerwith gMexican Ofticialj
    from (the M exican socialsecurity agency) was postponed for tomorrow,he has been in
    com m unication supporting the processofthe currentcontractsand apparently,he is orienting us

    properly.''The P Spreadsheets show ed the sam e M exican O fficialreceiving at least one bribe

    paym entperm onth during m ostm onths in 2015,paid by StericycleLATAM Executive2.

                           In or around M ay 2015,the IP Spreadsheets included 17 bribe paym ents
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    totalingapproximateiy 1.1millionpesos(approximately$72,050).TheIP Spreadsheetsshowed
    that 14 of the paym ents w ere m ade in cash by Stericycle LATAM Executive 2 to individuals,

    including nam ed governm entofficials.The IP Spreadsheets included false entries identifying fake

    servicestojustifythepayments,suchasGiforkliftrental,''Et
                                                           publicityr''andEtpromotionalproducts.''
                  36.     On or around M ay 4,2016,Stericycle LA TA M Executive 2 and another

    Stericycle LATA M em ployee,while in M iam i,Florida,'discussed the costto the Company of

    discontinuing the paym ent of bribes to foreign officials. Specifically, Stericycle LA TA M

    Executive 2 told the other LATAM em ployee that Stericycle M exico would lose significant

    business if they stopped paying bribes. Stericycle LATAM Executive 2 then prepared a

    spreadsheet estim ating that, in 2016, Stericycle M exico would lose over 75 m illion pesos

    (approximately$4,020,000)inrevenueifStericycleGteliminatled)everything.''
                          (c)     BribesPaidinAraentina
                          ln or aboutand between 2011 and 2016,Stericycle,through certain ofits

    employeesand agents,know ingly and willfully conspired and agreedw ith othersto corruptly offer

    and pay bribesto,and forthe benefitof,foreign officials,within the m eaning ofthe FCPA ,Title

    15,United StatesCode,Section 78dd-1(t)(1)(A),inArgentinato secureimproperadvantagesin
    orderto obtain and retain business in colm ection with providing w aste m anagem entservicesand

    to obtain authorization or priority release of paym ents ow ed under those contracts.Stericycle

    earned atleast $4.4 million in profits from corruptly obtained and reàined contracts with the
    A rgentinian govem m ent.
                                                                                I
                  38.     The bribe paym ents to Argentinian governm entofficialsw ere m ade with
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    the know ledge, authorization, and at the direction of Stericycle LA TAM Executive 1 and

    Stericycle LA TAM Executive 2, as well as Stericycle Argentina Executive 1 and other local

    managers(EdstericycleArgentinaCountry Managemenf').Forexample,on oraboutJanuary 11,
    20l1, Stericycle LA TAM Executive 2 em ailed Stericycle LA TAM Executive 1 providing a

    spreadsheetofthett-f'
                        op20SG&A Rselling,General,andAdministrativel)expensesbycountry.''
    In the em ail,Stericycle LATAM Executive 2 wrote thatthe spreadsheetincluded com parisons of

    the SG&A num bers w ith and without <dIP,''and broke down the am ounts of these (tincentive

    payments''byjurisdiction,includingM exico,Brazil,andArgentina.
                  39.      Stericycle Argentina Country M anagementcalculated and approved bribe
    paym ents, w hich w ere typically paid in cash by Stericycle A rgentina sales em ployees. For

    example,on occasions when a bribe needed to be paid,a Stericycle A rgentina sales employee

    em ailed an estim ate ofthe bribe paym ent,which w as typically a percentage of the underlying

    contract paym ent. Upon approval of the paym ent, the Stericycle A rgentina sales employee

    obtained cash from the StericycleArgentinaoffice in BuenosA iresand subsequently delivered the

    bribe paym entto the foreign official.

                  40.      For exam ple,on or about Septem ber27,2012,tw o Stericycle A rgentina

    sales em ployees em ailed abouta bribe to an Argentinian official.The bribe represented 10% of

    the underlying contract paym entfrom a regional health m inistry for w aste collection services,

    totaling 213,090pesos(approximately $45,610).On oraboutSeptember28,2012,one ofthe
    Stericycle A rgentina salesem ployees delivered the bribe paym entin the am ountof21,300 pesos

    (approximately$4,560),incash,totheArgentinianofficial.
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                   41.     StericycleArgentinaemployeesusedthewordstlalfa''and (talfajores''(a
    traditionalcookiepopularinArgentina)ascodestorefertothebribepayments.Forexample,on
    or aboutM ay 30,2013,two Stericycle Argentina salesem ployeesexchanged an em ailregarding

    outstanding paym entsfrom an A rgentinian regionalhealth m inistry,writing,(ç1should tellyou that

    when 1talked aboutthisissue,they reminded methatthe alfajoresfrom the lastpaymentare
    outstanding,w hich isw hy 1prom ised thatifthey giveusthe checkson M onday the l7 orTuesday

    the 18 1w ould be bringing thatplusthe checks.''

                           On or about Septem ber 2,2013, one of the Stericycle A rgentina sales

    employeesemailedhiscolleagueamessagewiththesubjectû'Alfagqfrom theLastPaymentof
    $257,730Canceledonthe30th ofAugust.''Theemailincludesabreakdown ofacontractpaym ent

    of257,730 pesos (approximately $45,034),which afterdeducting taxes was 213,000 pesos
    (approximately $37,218) and a 15% E'alfa,'' or bribe payment, totaling 31,950 pesos
    (approximately$5,583).
                  43.      On or about December 1,2014,one of the Stericycie Argentina sales

    em ployees w rote from a personal em ail address to the personal em ailaddresses of Stericycle

    A rgentinaExecutive 1and anotherStericycle Argentina colleagueregarding outstanding balances

    owed by a regionalhealth m inistry,stating,ç$lalso w antto rem ind you thatw e stillow ethe alfas

    fora11ofthe lastsettlem ent,having thisup to date helps a lotwhen itistim e to apply pressure.''

                           Stericycle Argentina Executive 1 also m aintained Gnancial records that

    tracked paym ents and included referencesto llalfa''and 111P Comm issions'
                                                             .               '(the sâme codeword
    usedincolmectionwithbribespaidbyStericycleinM exico).
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    IV .    FalseBooksand Records

                           ln connection with the schem e dehiled above to pay bribes to foreign

    officialsin Brazil,M exico,and A rgentina,and in orderto concealthe corruptpaym ents,between

    atleastinorabout2012and20l6,Stericycle,actingthrough itsemployeesand agents,knowingly

    and willfully conspired and agreed w ith othersto m aintain false books,records,and accountsthat

    did not accurately and fairly reflectthe transactions and dispositions of its assets.Specifically,

    Stericyclefalselyrecordedbribepaymenisaslegitimateexpensessuchaspurporteddebtcollection
    expenses,first aid training,and other false services, and m aintained falsified Sarbanes-oxley

    certifications,including know ingly false certificationssigned by Stericycle LA TA M Executive 1,

    in its consolidated boolcs,records,and accounts.

                   46.     For example, from in or about 2012 through the first quarter in 2016,

    including on oraboutD ecem ber3l,2014,D ecem ber31,2015,and M arch 31,20l6,Stericycle

    LATAM Executive 1signed quarterly Sarbanes-oxley certificationsthatfalsely stated,in sum and

    substance,thatStericycle LATAM Executive lw asnotaware ofany m aterialeventorpotential

    m aterialevent    defined to include a ltviolation or alleged violation of any applicable 1aw or

    regulation''   in the Stericycle LATA M businessduring the relevantperiod.These certifications

    failed to disclose,am ong otherthings,the bribe paym ents to various foreign officials in Brazil,

    M exico,and Argentina, and the existence of false books,records,and accounts related to the

    concealm entofthosepaym ents.

                                             COUN T 0%
                                   (ConspiracytoViolatetheFCPA)
                   47.    The allegations contained in paragraphs l through 46 are realleged and
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    incorporated asiffully setforth in thisparagraph.

                  48.     Between in orabout2011and 2016,w ithin the Southern DistrictofFlorida

    and elsewhere,the defendant Stericycle,Inc.,together w ith others,did l
                                                                          tnow ingly and w illfully

    conspire to com m itan offense againstthe U nited States,to wit: being an issuer,an employee of

    an issuer,and an agentofan issuer,to m ake use ofthe m ails and m eans and instrum entalities of

    interstate commerce corruptly in furtherance of an offer, payment, prom ise to pay, and
    authorization ofthe paym entof any m oney,offer,gift,prom ise to give,and authorization ofthe

    giving of anything ofvalue to a foreign ofticialand to a person,w hile know ing that a1land a

    portion of such m oney and thing ofvalue would be and had been offered,given,and prom ised,

    directly and indirectly,toaforeignofficial,forpurposesof(i)influencingactsand decisionsof
    such foreign officialin hisorherofficialcapacity;(ii)inducing suchforeign officialtodo and
    omitto do acts in violation ofthe lawfulduty ofsuch official;(iii)securing any improper
    advantage;and (iv)inducing such foreign officialto use his orherinfluencewith a foreign
    goverqm entand agencies and instrum entalitiesthereofto affectand influence acts and decisions

    ofsuch govem m ent,agencies,and instrum entalities,in orderto assistStericycle,lnc.in obtaining

    and retaining business for and with, and directing business to, Stericycle, Inc.and others, in

    violationofTitlel5,UnitedStatesCode,Section78dd-1(a).
                                            OVERT ACTS

                  49. Infulheranceoftheconspiracyandtoeffectitsobjects,withintheSouthern
    D istrictofFlorida and elsewhere,the defendantStericycle,lnc.,togetherw ith others,com m itted,

    and caused to becom m itled,am ong others,atleastone ofthe follow ing:
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                                 On or about January l1,2011, Stericycle LA TA M Executive 2

    emailedStericycleLATAM Executive1providingaspreadsheetoftheSl-
                                                                 f'op20SG&A (tselling,
    General,andAdministrativel)expensesby country.''Intheemail,StericycleLATAM Executive
    2 w rote thatthe spreadsheetincluded comparisonsofthe SG& A num bersw ith and w ithout($P ,''

    and brokedown theamountsoftheseGGincentivepayments''byjurisdiction,including M exico,
    Brazil,and A rgentina.

                          (b)    On oraboutSeptember27,2012,two StericycleArgentina sales
    em ployees em ailed about a bribe to an Argentinian official.The bribe represented 10% of the

    underlying contractpaym entfrom a regionalhealth m inistry forw aytecollection services,totaling

    213,000pesos(approximately$45,610).
                                 On or about Septem ber28,2012,one of the Stericycle Argentina

    salesemployees delivered the bribepaymentin the amountof21,300 pesos (approximately
    $4,560),incash,totheArgentinianofficial.
                          (d)    On or about January 17,2013,a Stericycle M exico employee
    em ailed Stericycle LA TAM Executive 1 and Stericycle LATA M Executive 2, attaching a

    spreadsheetentitledillnvoicesIP (qD1C.l2''anddescribingthespreadsheetasaltreferencefile''
    thatincluded the GGm onthly am ountsumm ary''and an analysisofthe (Gconceptsw e use in orderto

    sustain the operation.''The attached spreadsheetincluded referencesto bribepaym entsfrom in or

    about January through Decem ber 2012,along w ith corresponding M exico Vendors that would

    subm itfake invoicesw ith descriptionsoffabricated selwices.
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                          (e)     On oraboutJuly 29,2014,aStericycleBrazilfinance employee
    em ailed another Stericycle Brazil em ployee asking for a paym ent order in the am ount of

    R$107,800.96(approximately $48,499.65)tobewithdrawnfrom alocalbarlkthefollowingday.
    The em ailrequesting thepaym entorderreferenced one ofthe BrazilVendors.The sam eam ount,

    R$107,800.96,appeâred in aJuly 2014 entry in theCP Spreadsheet.

                          (9      OnoraboutOctober1,2014,aseniormanageratStericycleM exico
    emailedStericycleLATAM Executive1,statinglkltlhedinnerwithrM exicanOfficial)from (the
    Mexican socialsecurity agency)waspostponed fortomorrow,hehasbeen in communication
    supporting theprocessofthe currentcontractsand apparently,he isorienting usproperly.''TheP

    Spreadsheets show ed the sam e M exican O fficialreceiving atleastone bribepaym entperm onth

    during m ostm onths in 2015,paid by StericycleLATAM Executive2.

                          (g)     OnoraboutJanuary8,2016,StericycleBrazilExecutive1emailed
    Stericycle LATAM Executive         a version of the CP Spreadsheet,stating ttgals per our
    conversa'tion, please find attached the spreadsheet detailing the expenses w ith debt collection

    servicesfor2014 and 2015.''

                          (h)     On oraboutMay 4,20l6,Stericycle LATAM Executive 2 and
    anotherStericycleLA TA M employee,whilein M iam i,Florida,discussed thecostto theCom pany

    of discontinuing the paym ent of bribes to foreign officials. Specifically, Stericycle LA TAM

    Executive 2 told the other LATA M em ployee that Stericycle M exico would lose significant

    business if they stopped paying bribes. Stericycle LA TAM Executive 2 then prepared a
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    spreadsheet estim ating that, in 2016, Stericycle M exico would lose over 75 m illion pesos

    (approximately$4,020,000)inrevenueifStericycleCseliminatgedleverything.''
                      (Title18,UnitedStatesCode,Sections371and3551ttseq.)
                                              COU NT TW O
                     (ConspiracytoViolatetheAccountingProvisionsoftheFCPA)
                   50.     The allegationscontained in paragraphs 1through 46 are realleged and

    incorporated as iffully setforth in thisparagraph.

                   51.    Between in orabout2012 and 2016,within the Southern D istrictofFlorida

    and elsewhere,the defendant Stericycle Inc.,together w ith others,did knowingly and willfully

    conspireto com m itan offense againstthe United States,to w it:to ltnow ingly and w illfully falsify

    and cause $o be falsitied books,records,and accountsrequired,in reasonable deu il,to accurately

    and fairly reflectthetransactions and dispositionsofthe assetsofStericycle,lnc.,an issuerw ithin

    themeaning oftheFCPA,in violation ofTitle15,United StatesCode,Sections78m(b)(2)(A),
    78m(b)(5),and78ff(a).
                                             OV ERT A CTS

                   52. Infurtheranceoftheconspiracyandtoeffectitsobjects,withintheSouthern
    DistrictofFlorida and elsewhere,the defendantStericycle,Inc.,togetherw ith others,com m itted,

    and caused the com m ission of,am ong others,atleastone ofthefollow ing:


                                   On or aboutD ecem ber31,2014,Stericycle LA TAM Executive 1

    signed a quarterly Sarbanes-oxley certification that falsely stated,in sum and substance,that

    Stelicycle LA TA M Executive lw as notaw are ofany m aterialeventorpotentialm aterialevent
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        defined to include a (tviolation oralleged violation ofany applicable law orregulation''     in

    the Stericycle LATAM business during the relevantperiod.This certification failed to disclose,

    am ong other things, the bribe paym ents to various foreign officials in Brazil, M exico, and

    Argentina,andtheexistence offalsebooks,records,and accountsrelated to theconcealm entof

    those paym ents.

                           (b)     On oraboutDecember31,20l5,StericycleLATAM Executive 1
    signed a quarterly Sarbanes-oxley certification that falsely stated,in sum and substance,that

    Stericycle LA TAM Executive 1 was not aw are of any m aterialeventorpotentialm aterialevent

        defined to include a C'violation or alleged violation of any applicable law orregulation''   in

    the Stericycle LA TAM business during the relevantperiod.This certification failed to disclose,

    am ong other things, the bribe paym ents to various foreign officials in Brazil, M exico, and

    A rgentina,and the existence offalse books,records,and accounts related to the concealm entof

    thosepaym ents.
                                     f
                                   On oraboutJanuary 8,2016,Stericycle BrazilExecutive 1em ailed

    Stericycle LATAM Executive 1 a version of the CP Spreadsheet, stting tllaqs per our
    conversation,please find attached the spreadsheet deh iling the expenses w ith debt collection

    servicesfor2014 and 2015.59

                           (d)     On oraboutM arch 31,2016,Stericycle LATAM Executive l
    signed a quarterly Sarbanes-oxley certification that falsely stated, in sum and substance,that

    Stericycle LA TA M Executive 1 w as notaw are ofany m aterialeventorpotentialm aterialevent
    -
        defned to include a 'lviolation or alleged violation of any applicable 1aw orregulation''- in
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     the Stericyclç LATA M business during the relevantperiod.Tllis certilcatipn failed to disclose,

     among othèr things, the bribe paym entq to valious foreign officials in Bràzil, M exico, and

     A rgentina,and the existence offalse books,records,and accotmtsrelated to the conceahrzntof

     thosepaym ents.


                       (Title18,UltitedStatesCode,Sections371and3551tt> .)



                                                           J EPH S EEM STERBOER
                                                             TING CHW F FRAU D SECTION
                                                                   wsojvislox
                                                            EPARTM ENT OF JUSTICE


                                                      BY:        ' G ,A w
                                                           P      A.RAYDEN
                                                           Jm SN ON
                                                           TRIAL ATTORNEYS
  Case 1:22-cr-20156-KMM Document 1 Entered on FLSD Docket 04/14/2022 Page 23 of 25
                                   U NITED STATES DISTRICT C OU RT
                                   SOUTH ERN D ISTR IC T O F FLO RIDA

UN ITED STATES O F AM ERICA                          CA SE N O .:


                                                     CER TIFICA TE O F TR G L A TTO R N EY *
Stericycle,Inc.
                                        /            Superseding Case Inform ation:

CourtDivision(selectone)                             New Defendantts)(YesorNo)No
   Z M iami II   Z Key W est L FTP                   N um berofN ew D efendants O
   L FTL        IQ W PB                              Totalnum berofN ew CountsO

1do hereby certify that:
  1.    Ihave carefully considered the allegations ofthe indictm ent,the numberofdefendants,the num berofprobable
        witnessesandthelegalcomplexitiesoftheIndictm ent/lnfonnation attached hereto.
        1am awarethattheinformation suppliedonthisstatementwillberelied upon by theJudgesofthisCou:tin setling
        theircalendarsandscheduling criminaltrialsunderthemandateoftheSpeedyTrialAct,Title28U.S.C.j3161.
        lnterpreter:(YesorNo)No
        Listlanguageand/ordialect:
        Thiscasewilltake 0 daysforthepadiestotry.

        Please check appropriate category and type ofoffense listed below :
        (Checkonlyone)                        (Checkonlyone)
        l      Z 0to 5days                  E'! Petty
        11     I
               1
               Zl 6to 10 days               I
                                            ZIM inor
        III   IQ 11to 29days                EJ.M isdemeanor
        IV    E'
               Z 21to 60days                z Felony
        V     IZI
               . 61daysand over

  6. HasthiscasebeenpreviouslyfiledinthisDistrictCourt?(YesorNo)No
        Ifyes,Judge                                  CaseN o.
        Hasacomplaintbeenfiled inthismatter?(YesorNo)No
        lfyes,M agistrate CaseN o.
  8. DoesthiscaserelatetoapieviouslyfiledmatterinthisDistrictCourt?(YesorNo)No
        lfyes,Judge                                  Case N o.
  9. Defendantts)infederalcustodyasof
  l0. Defendantts)instatecustodyasof
  11. Rule 20 from the                 D istrictof
  12. lsthisapotentialdeathpenaltycase?(YesorNo)No
  13. D oesthis caseoriginate from a m atterpending in theN orthern Region ofthe U .S.A ttorney'sOfGce
        priortoAugust8,2014(M ag.JudgeShaniekMaynard?(YesorNo)No
  14. D oesthis caseoriginate from a m atterpending in the CentralRegion ofthe U .S.Attorney's Office
        priortoOctober3,2019(M ag.JudgeJaredStrauss?(YesorNo)No


                                                     By: A            4.
                                                               PaulA .H ayden
                                                               D OJTrialAtlorney
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                             UNITED STATES DISTRICT CO URT
                             SO UTH ERN DISTRICT OF FLOR IDA

                                        PENA LTY SHEET

    D efendant'sNam e:Stericycle.lnc.

    Case No:

    Count//1:

    Conspiracy to ViolatetheAnti-Bribery Provision oftheForeign CorruptPracticesA ct

    Title 18-United StatesCode.Section 371

    SrM ax.Penalty:Fineofupto $500,000 ortwicethegrossgain
    Count#2:

    Conspiracv to V iolatetheBooksand RecordsProvisions ofthe Foreign ConuptPracticesA ct

    Title 18.U nited StatesCode.Section 371

    *M ax.Penalty:Fineofup to $500,000 ortwicethegrossgain




     *Refers only to possible term ofincarceration,doesnotinclude possible fines,restitution,
             specialassessm ents,paroleterm s,orforfeitures thatm ay be applicable.
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AO 455(Rev.01/09)WaiverofanIndictment

                                U NITED STATES D ISTRICT C OURT
                                                     forthe
                                           Southern DistrictofFlorida

               United StatesofAm erica
                          V.                                 CaseN o.

                    Stericycle,Inc-,
                        Defendant
                                         W AW ER OF AN U DICTM ENT

       lunderstand that1have been accused ofoneorm oreoffensespunishableby imprisonmentform orethan one
year. 1wasadvised in open courtofmy rightsandthenatureoftheproposed chargesagainstm e.

        Afterreceivingthisadvice,Iwaivemyrighttoprosecutionbyindicimentandconsenttoprosecutionby
infonnation.



Date:       04/14/2022                                                        Stericyle,Inc.BY
                                                                             Depndant'
                                                                                     ssi
                                                                                       gnature


                                                                           /s/TimothyJ.Treanor
                                                                         Signatureofdefendant'
                                                                                             sattorney
                                                                          TIM OTHY J.TREANOR
                                                                        Printednameofde#ndant'
                                                                                             sattorney


                                                                               Judge'
                                                                                    ssignature


                                                                   '      Judge'
                                                                               sprintednameand tîtle
